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              IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF GEORGIA
                       WAYCROSS DIVISION

EDWARD SCOTT, and DEBBIE   )
RICHARDS, on behalf of     )
themselves and all         )    CIVIL ACTION FILE NO.
others similarly situated, )          5:19-cv-22-LGW-BWC
                           )
     Plaintiffs,           )
                           )
v.                         )
                           )    For Violations of the Fair Labor
NORTH AMERICAN INNS, LLC, )     Standards Act of 1938, As Amended
SHARMA HOSPITALITY, LLC,   )
and SHAUN B. SHARMA,       )
                           )
     Defendants.           )
===========================================================

         DEFENDANT SHAUN B. SHARMA’S DECLARATION
    IN RESPONSE TO PLAINTIFF’S STATEMENT OF UNDISPUTED
                      MATERIAL FACTS


      Defendant Shaun B. Sharma files this Declaration in Response to contradict

and dispute certain alleged facts that Plaintiff’s submit as “undisputed” in their

Statement of Undisputed Material Facts (“SUMF”) fled on February 13, 2020 (Doc.

No. 32-1) in support of their Motion for Summary Judgment.

      As an organizational tool, Defendants will number this response to correspond

with the numbered paragraphs in Plaintiff’s SUMF. Defendant Shaun B. Sharma

executes this Declaration under oath and confirms the facts herein as true and

correct.
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1. Confirmed.

2. DISPUTE as to whether Richards was ever “employed”.

3. DISPUTE as to whether Scott was ever “employed”.

4. DISPUTE because Defendant’s pending Motion to Summary Judgment

      outlines several applicable exemptions, inter alia, Defendants are not covered

      by FLSA since the motel at no time since its inception in 2006, has collected

      $500,000 or more in revenues for a single year.

5.     DISPUTE as workers are all paid based on hourly work.

6. Confirmed.

7. DISPUTE as other workers do not consider themselves to be employees,

      merely because Plaintiffs say they do.

8. DISPUTE. Richards was demoted from property manager to front desk clerk

      because she was caught doing crack cocaine at the front desk.

9. Confirmed.

10. DISPUTE as Contractors request cash payments for various reasons.

11. DISPUTE as Richards did not work over 12 hours per day. The computer

      records confirm this. She was not on call 24 hours per day. At any given time

      Defendants had 3 front desk workers, so each covers no more than 8 hours per

      day maximum. Desk is closed at midnight, or 2 am on weekends, 10 pm on
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   Sunday. Additionally, Sharma family members (who live on site) cover the

   desk as needed for several hours per week.

12. DISPUTE as she was not on call while working as a front desk clerk.

   Defendants had at least two other desk clerks engaged at all times.

13.DISPUTE as she did not work in excess of 60 hours per week. Richards

   certainly did not work this much “every week.”

14.DISPUTE as Scott did not work over 60 hours per week every week.         Scott

   kept track of his own hours and then stopped working when he was over 40,

   according to his records. Our work never required more that 40 hours per

   week from Scott.

15.DISPUTE as Defendants have no employees. All workers do NOT work over

   40 hours per week and will testify as such.

16.DISPUTE as they were not employees and did not work overtime.

17.Scott testified that he kept records of his own hours and then stopped working.

   The handwritten sign in sheets are no longer available.

18.DISPUTE. No workers have ever complained. None have joined in this

   lawsuit.    Only Plaintiff’s complained and only after they both left the

   premises.

19.DISPUTE as Plaintiffs quit because they were hiding from the police.
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20.DISPUTE as Scott quit due to a warrant out for his arrest for domestic abuse.

   He quit and was not terminated.

21.DISPUTE as Richards resigned. She was not terminated.

22.DISPUTE as Sharma Hospitality filed criminal complaint not all Defendants.

   Sharma Hospitality was not a party to any lawsuit at the time.

23.DISPUTE as Defendants did kept these, but they are now missing.

24.DISPUTE as the DOL review and audit by Alicia Stanton audit approved this

   record.

25. DISPUTE as the cost is the total annual operating costs divided by the number

   of usable rooms.

26.DISPUTE as all worker contracts have an election to receive straight wages

   or wages plus room.       All have chosen room, largely based on their own

   personal lack of alternatives. Most new workers are transient or homeless and

   appreciate the option. The room is convenient to both parties but is not

   required of any worker.

27.This rate is for a regular room, not a suite with kitchen and full-size

   refrigerator and laundry service.

28.DISPUTE. Defendants offer live-in suites valued at $441 per week, plus a

   $50 charge for laundry, WIFI, cable and phones.
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29.DISPUTE as the contract speaks for itself and allows mutual termination by

   either party for any or no reason.

30.DISPUTE as Defendants operate a motel and explain this to all contractors.

31.Confirmed.

32.DISPUTE as parties do walk through. All rooms are inspected monthly by

   health and fire departments.

33.DISPUTE as all workers sign this. Richards did sign one.

34. DISPUTE as Scott did sign an independent contract agreement. This is why

   he agreed to move in, accept keep and get paid in cash weekly at the agreed

   upon amount.

35. Confirmed.

36.DISPUTE as when property manager Richards did have authority to hire/fire

   other contractors, but the contract would be signed by Defendants.

37. DISPUTE as Paul Sharma set the hours for the contractors.

38.Confirmed.

39.DISPUTE as Richards as property manager did have authority to set rules.

40. DISPUTE as Scott was never terminated. He beat up his wife and was hiding

   from police.

41. Confirmed.

42. Confirmed.
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43. Confirmed, and this policy was discussed and approved by DOL audit with

   Alicia Stanton.

44. DISPUE as Richards did negotiate leaving her position at motel in Tifton to

   come to work at Comfortel Suites. Both sides agreed on the rate of pay and

   the lodging accommodation.

45. DISPUTE as the payments were in cash.

46. Confirmed.

47.DISPUTE as Richards was hired and acted as property manager due to her

   experience in the motel industry, until she was found with illegal drugs at the

   front desk.

48.DISPUTE as both parties to contract had termination rights, but Defendants

   did not terminate either Plaintiff.

49. DISPUTE as Scott testified that he acquired tools during his engagement.

50.DISPUTE as they all have the right to work elsewhere. Both plaintiffs did

   work elsewhere.

51.DISPUTE as both plaintiffs negotiated their agreements.

52.DISPUTE as Plaintiffs were allowed and encouraged to work elsewhere.

   Both worked at other jobs and sold items online.
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Further Affiant Sayeth Naught.




                            Shaun B. Shanna

                            Date:._March
                                   ______3, 2020 _____


Notary Public:




My commission expires:                        [Seal]
